Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 1 of 51 Page ID #:4
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 2 of 51 Page ID #:5
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 3 of 51 Page ID #:6
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 4 of 51 Page ID #:7
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 5 of 51 Page ID #:8
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 6 of 51 Page ID #:9
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 7 of 51 Page ID #:10
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 8 of 51 Page ID #:11
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 9 of 51 Page ID #:12
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 10 of 51 Page ID #:13
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 11 of 51 Page ID #:14
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 12 of 51 Page ID #:15
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 13 of 51 Page ID #:16
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 14 of 51 Page ID #:17
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 15 of 51 Page ID #:18
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 16 of 51 Page ID #:19
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 17 of 51 Page ID #:20
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 18 of 51 Page ID #:21
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 19 of 51 Page ID #:22
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 20 of 51 Page ID #:23
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 21 of 51 Page ID #:24
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 22 of 51 Page ID #:25
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 23 of 51 Page ID #:26
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 24 of 51 Page ID #:27
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 25 of 51 Page ID #:28
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 26 of 51 Page ID #:29
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 27 of 51 Page ID #:30
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 28 of 51 Page ID #:31
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 29 of 51 Page ID #:32
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 30 of 51 Page ID #:33
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 31 of 51 Page ID #:34
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 32 of 51 Page ID #:35
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 33 of 51 Page ID #:36
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 34 of 51 Page ID #:37
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 35 of 51 Page ID #:38
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 36 of 51 Page ID #:39
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 37 of 51 Page ID #:40
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 38 of 51 Page ID #:41
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 39 of 51 Page ID #:42
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 40 of 51 Page ID #:43
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 41 of 51 Page ID #:44
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 42 of 51 Page ID #:45
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 43 of 51 Page ID #:46
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 44 of 51 Page ID #:47
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 45 of 51 Page ID #:48
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 46 of 51 Page ID #:49
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 47 of 51 Page ID #:50
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 48 of 51 Page ID #:51
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 49 of 51 Page ID #:52
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 50 of 51 Page ID #:53
Case 8:12-cv-00927-DOC-JPR Document 1 Filed 06/11/12 Page 51 of 51 Page ID #:54
